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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

      v.                                                        DECISION AND ORDER
                                                                    10-CR-184S-21
DANIELLE BARTON,

                            Defendant.




      1.       On July 17, 2013, the Defendant entered into a written plea agreement

(Docket No. 731) and pled guilty to Count 26 of the Third Superseding Indictment (Docket

No. 202) charging a violation of Title 18 U.S.C. § 1956(h) (conspiracy to commit money

laundering).

      2.       On July 17, 2013, the Honorable Leslie G. Foschio, United States

Magistrate Judge, filed a Report and Recommendation (Docket No. 733) recommending

that Defendant’s plea of guilty be accepted and the Defendant adjudicated guilty.

      3.       This Court has not received objections to the Report and Recommendation

in accordance with 28 U.S.C. §636(b)(1) and Local Rule 59(b).

      4.       This Court has carefully reviewed de novo Judge Foschio’s July 17, 2013,

Report and Recommendation, the plea agreement, the Information, and the applicable

law. Upon due consideration, this Court finds no legal or factual error in Judge Foschio’s

Report and Recommendation, and will accept Judge Foschio’s recommendation that

Defendant’s plea of guilty be accepted and that the Defendant be adjudicated guilty as

charged.
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      IT HEREBY IS ORDERED, that this Court accepts Judge Foschio’s July 17, 2013,

Report and Recommendation (Docket No. 733) in its entirety, including the authorities

cited and the reasons given therein.

      FURTHER, that the plea of guilty of Defendant Danielle Barton is accepted, and she

is now adjudged guilty of Title 18 U.S.C. § 1956(h).

      SO ORDERED.


Dated: August 6, 2013
       Buffalo, New York


                                                       s/William M. Skretny
                                                    WILLIAM M. SKRETNY
                                                          Chief Judge
                                                   United States District Court




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